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                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

UNITED STATES OF AMERICA                     )                  2:18-1022
                                                  CRIMINAL NO.: _  _ _ __
                                             )
                                             )    18 u.s.c.   § 1343
       -versus-                              )    18 u.s.c.   § 1349
                                             )    18 u.s.c.   § 1951
                                             )    18 U.S.C.    1956(h)
 DAVID PAUL DEMPSEY                          )    18 U.S.C.   § 981(a)(l)(C)
 EDGAR JERMAINE HOSEY                        )    18 U.S.C.   § 982(a)(l)
                                             )    28 U.S.C.   § 2461(c)
                                             )
                                             )        INDICTMENT
                                             )        (UNDER SEAL)

                                          COUNT 1
                              (Conspiracy to Commit Wire Fraud)

THE GRAND JURY CHARGES:

       1.      From in or about April 2017 through at least December 2017, in the District of

South Carolina and elsewhere, the Defendants, DAVID PAUL DEMPSEY and EDGAR

JERMAINE HOSEY, and others known and unknown to the Grand Jury, knowingly and willfully

and with intent to defraud, combined, conspired, confederated, and agreed together to execute and

attempt to execute a scheme and artifice to defraud by means of false and fraudulent pretenses,

representations, and promises, and for the purpose of executing and attempting to execute the

scheme transmitted and caused to be transmitted by means of wire communications in interstate

commerce, writings, signs, and signals in violation of Title 18, United States Code, Sections 1343

and 1349.

                            MANNER AND MEANS OF THE CONSPIRACY

       At all times relevant to the conspiracy:

       2.      DAVID PAUL DEMPSEY was a prisoner at the South Carolina Department of



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Corrections (SCDC).

       3.      EDGAR JERMAINE HOSEY lived in Aiken, S.C., and he communicated with

DEMPSEY regularly during the conspiracy.

       4.      DEMPSEY and others known and unknown to the Grand Jury, smuggled

smartphones into the SCDC in violation of state law. These smartphones contained features such

as personal computers, telephones, digital cameras and videos, and Wi-Fi Internet Access.

       5.      Using the Internet access on the smartphones, DEMPSEY and other inmates at

SCDC orchestrated a scheme to defraud members of the United States Military by means of wire

communications in interstate commerce.

       6.      It was part of the scheme that DEMPSEY, using a smartphone, joined Internet

dating websites and posed as a young woman who was seeking a romantic relationship. On the

dating websites, DEMPSEY targeted young men who were in the military.

       7.      After meeting military members on the dating websites, DEMPSEY texted nude

pictures of young women that he obtained from the Internet. It was part of the scheme that

DEMPSEY claimed these nude pictures were of the woman that he was impersonating on the

dating website. After DEMPSEY texted nude pictures, he asked the military members to text

nude pictures and other personal information in return.

       8.      It was further part of the scheme that after exchanging nude pictures and other

personal information, DEMPSEY called the military members and claimed to be the young

woman's father. DEMPSEY told the military members that his "daughter" was a minor and not

18 or 19-years-old as listed on the dating website. DEMPSEY then threatened to notify law

enforcement that the military member was exchanging nude pictures with a minor unless the

military member paid money. DEMPSEY claimed that the money was needed to replace the



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computer or to pay medical bills for the trauma that his "underage daughter" suffered from the

sexually explicit text messages. In some instances, other inmates at SCDC who conspired with

DEMPSEY called the military members posing as a family member and threatened them with

arrest unless they paid additional money.

       9.      DEMPSEY directed the military members to wire money by means of wire

communications in interstate commerce via Western Union, MoneyGram, PayPal, and Walmart

to individuals in South Carolina.

       10.     It was further part of the scheme that DEMPSEY recruited HOSEY and others to

retrieve the money that was wired by the military members. DEMPSEY instructed the military

members to wire the money to HOSEY and others in South Carolina.

       11.     After retrieving the wired money, HOSEY and others transferred the money to

DEMPSEY and other inmates at DEMPSEY'S direction. HOSEY and others sometimes took

some of the proceeds for their role in the conspiracy.

       12.     Due to this conspiracy to commit wire fraud, DEMPSEY fraudulently obtained

more than $12,730.00 from service members who lived in states across the country.

               All in violation of Title 18, United States Code, Sections 1343 and 1349.




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                                            COUNT2
                                        (Money Laundering)

THE GRAND JURY FURTHER CHARGES:

        From in or about May 2016 through at least December 2017, in the District of South

Carolina and elsewhere, the Defendants, DAVID PAUL DEMPSEY and EDGAR JERMAINE

HOSEY, knowingly and willfully combined, conspired, and agreed with each other and with

others, both known and unknown to the Grand Jury, to conduct and attempt to conduct financial

transactions affecting interstate and foreign commerce, which involved the proceeds of specified

unlawful activity, that is, the wire fraud described in Count 1, knowing that the property involved

in the financial transactions represented the proceeds of some form of unlawful activity, and further

knowing that the transactions were designed, in whole and in part, to conceal and disguise the

nature, the location, the source, the ownership, and the control of the property, in violation of Title

18, United States Code, Section 1956(a)(l)(B)(i);

        All in violation of Title 18, United States Code, Section 1956(h).

                                             COUNT3
                                             (Extortion)

THE GRAND JURY FURTHER CHARGES:

       In or about May 2017, in the District of South Carolina and elsewhere, the Defendant,

DAVID PAUL DEMPSEY, did obstruct, delay, and affect commerce and the movement of

articles and commodities in commerce by extortion, as those terms are defined in Title 18, United

States Code, Section 1951, in that DAVID PAUL DEMPSEY obtained the money of C.S., with

his consent, induced by the wrongful use of actual and threatened force, violence, and fear,

including fear of economic loss and employment termination, as described in Count 1.

       In violation of Title 18, United States Code, Section 1951.


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                                           COUNT4
                                           (Extortion)

THE GRAND JURY FURTHER CHARGES:

       In or about April 2017, in the District of South Carolina and elsewhere, the Defendant,

DAVID PAUL DEMPSEY, did obstruct, delay, and affect commerce and the movement of

articles and commodities in commerce by extortion, as those terms are defined in Title 18, United

States Code, Section 1951, in that DAVID PAUL DEMPSEY obtained the money of C.B., with

his consent, induced by the wrongful use of actual and threatened force, violence, and fear,

including fear of economic loss and employment termination, as described in Count 1.

       In violation of Title 18, United States Code, Section 1951.

                                           COUNTS
                                           (Extortion)

THE GRAND JURY FURTHER CHARGES:

       In or about May and June 2017, in the District of South Carolina and elsewhere, the

Defendant, DAVID PAUL DEMPSEY, did obstruct, delay, and affect commerce and the

movement of articles and commodities in commerce by extortion, as those terms are defined in

Title 18, United States Code, Section 1951, in that DAVID PAUL DEMPSEY obtained the

money of K.S., with his consent, induced by the wrongful use of actual and threatened force,

violence, and fear, including fear of economic loss and employment termination, as described in

Count 1.

       In violation of Title 18, United States Code, Section 1951.




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                                           COUNT6
                                           (Extortion)

THE GRAND JURY FURTHER CHARGES:

       In or about April 2017, in the District of South Carolina and elsewhere, the Defendant,

DAVID PAUL DEMPSEY, did obstruct, delay, and affect commerce and the movement of

articles and commodities in commerce by extortion, as those terms are defined in Title 18, United

States Code, Section 1951, in that DAVID PAUL DEMPSEY obtained the money ofC.S., with

his consent, induced by the wrongful use of actual and threatened force, violence, and fear,

including fear of economic loss and employment termination, as described in Count 1.

       In violation of Title 18, United States Code, Section 1951.

                                           COUNT7
                                           (Extortion)

THE GRAND JURY FURTHER CHARGES:

       In or about May· 2017, in the District of South Carolina and elsewhere, the Defendant,

DAVID PAUL DEMPSEY, did obstruct, delay, and affect commerce and the movement of

articles and commodities in commerce by extortion, as those terms are defined in Title 18, United

States Code, Section 1951, in that DAVID PAUL DEMPSEY obtained the money of C.C., with

his consent, induced by the wrongful use of actual and threatened force, violence, and fear,

including fear of economic loss and employment termination, as described in Count 1.

       In violation of Title 18, United States Code, Section 1951.




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                                         FORFEITURE

CONSPIRACY TO COMMITT WIRE FRAUD/EXTORTION:

       Upon conviction for violation of Title 18, United States Code, Sections 1343, 1349 and

1951, as charged in this Indictment, the Defendants, DAVID PAUL DEMPSEY and EDGAR

JERMAINE HOSEY, shall forfeit to the United States any property, real or personal, which

constitutes or is derived from any proceeds the Defendants obtained, directly or indirectly, as the

result of such violation, and any property traceable to such property.

MONEY LAUNDERING:

       Upon conviction for violation of Title 18, United States Code, Section 1956 as charged in

this Indictment, the Defendants, DAVID PAUL DEMPSEY and EDGAR JERMAINE HOSEY,

shall forfeit to the United States any property, real or personal, involved in a transaction or

attempted transaction in violation of 18 U .S.C. § 1956, as charged in the Indictment, or any

property traceable to the offense.

PROPERTY:

       Pursuant to Title 18, United States Code, Sections 98l(a)(l)(C) and 982(a)(l), and Title

28, United States Code, Section 246l(c), the property which is subject to forfeiture upon

conviction of the Defendants for offenses charged in this Indictment includes, but is not limited to

the following:

       FORFEITURE JUDGMENT/ PROCEEDS:

       A sum of money equal to all proceeds the Defendants obtained directly or indirectly
       as the result of the offenses charged in the Indictment and all interest and proceeds
       traceable thereto.

       FORFEITURE JUDGMENT/MONEY LAUNDERING:

       A sum of money equal to all property involved in the money laundering offenses
       charged in the Indictment, and all interest and proceeds traceable thereto.

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SUBSTITUTE ASSETS:

       If any of the property described above, as a result of any act or omission of the

Defendants:
               a. cannot be located upon the exercise of due diligence;
               b. has been transferred or sold to, or deposited with, a third party;
               c. has been placed beyond the jurisdiction of the court;
               d. has been substantially diminished in value; or
               e. has been commingled with other property which cannot be divided without
                  difficulty;

it is the intent of the United States of America, pursuant to Title 21, United States Code, Section

853(p) as incorporated by 18 U.S.C. § 982 (b)(l), to seek forfeiture of any other property of the

said Defendants up to the value of the above forfeitable property.

       Pursuant to Title 18, United States Code, Sections 981(a)(l)(C) and 982(a)(l), and Title

28, United States Code, Section 2461(c).



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SHERRI A. LYDON (e l ) - .
UNITED STATES ATTORNEY




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